          Case 1:20-cr-00174-NODJ-BAM Document 221 Filed 06/07/24 Page 1 of 1
                          IN THE UNITED STATES DISTRICT COURT FOR THE
                                   EASTERN DISTRICT OF CALIFORNIA

 United States of America,                                )
                                                          )           REENTRY COURT PROGRAM
          v.                                              )
                                                          )         ORDER TO REDUCE TERM OF
 Sandra Coronado Diaz,                                    )            SUPERVISED RELEASE
                                                          )        FOR SUCCESSFUL COMPLETION
                                            Defendant.    )             OF REENTRY COURT
                                                          )              (18 U.S.C. 3583(3)(1)
                                                          )
                                                          )       Docket Number: 0972 1:20CR00174-5

        On May 23, 2023, the defendant was accepted as a participant in the Reentry Court Program. As of May
15, 2024, the defendant successfully completed the Reentry Court Program.

         It is recommended by the Reentry Court Team that due to defendant’s successful completion of the Reentry
Court Program, the defendant’s term of Supervised Release is to be reduced by one year, with a new termination
date of March 30, 2025.


         In accordance with 18 U.S.C. § 3583(3)(1), the Reentry Court Judge orders that a reduction is
approved. The term of Supervised Release imposed on June 21, 2022, is hereby reduced by one year for
defendant’s successful completion of the Eastern District of California’s Reentry Court Program.


         These findings and recommendation are submitted to the District Judge assigned to this action, pursuant to
28 U.S.C. § 636(b)(1)(B) and this Court’s Local Rule 302 and shall be considered forthwith without the need for
time to respond.



 6/7/2024
  Date                                                         The Honorable Sheila K. Oberto
                                                               U.S. Magistrate Judge


         IT IS ORDERED that these findings and recommendations are hereby adopted and approved. The
defendant’s term of Supervised Release is reduced by one year, with a new termination date of March 30, 2025.



  June 7, 2024
  Date                                                         The Honorable Jennifer L. Thurston
                                                               U.S. District Judge

cc:      Defendant
         Assistant United States Attorney: Antonio J. Pataca
         Defense Counsel: Michael G. McKneely
         FLU Unit – United States Attorney’s Office
         Fiscal Clerk - Clerk's Office
                                                                                                                          Rev. 08/2020
                                                                                     CAE___REENTRY COURT_ORDER TO REDUCE SUPERVISION
